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                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                    Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,                        BRIEF OF AMICI CURIAE THE STATES
STATE OF ILLINOIS,                           OF OHIO, ALABAMA, GEORGIA, AND
STATE OF MARYLAND                            IOWA IN SUPPORT OF
STATE OF NEVADA,                             DEFENDANTS’OPPOSITION TO
STATE OF NEW MEXICO,                         PLAINTIFFS’ MOTION FOR
STATE OF OREGON, and                         PRELIMINARY INJUNCTION
STATE OF WYOMING,
Plaintiffs,
v.
THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,
Defendants.




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I.       Interest of Amici Curiae and Introduction.1
         As the chief law enforcement officers in the States of Ohio, Alabama, Georgia, and Iowa,

the Attorneys General have a strong interest in ensuring that the antitrust laws are enforced for the

benefit of their States’ consumers. This interest includes guarding against federal agency actions,

such as this one, that disregard the facts, ignore controlling precedent, and threaten harm to

consumers. The Attorneys General submit this Brief because the Federal Trade Commission

(“Commission”) has paid no attention to market realities or its own case law in seeking to block

the acquisition of Albertsons Companies, Inc. (“Albertsons”) by The Kroger Co. (“Kroger”). The

acquisition would likely increase, not restrain, competition in the market for grocery sales,

benefiting consumers. It promises to strengthen Kroger’s ability to compete effectively for

consumer dollars in an already crowded field of retailers, and there is no factual or legal basis for

the Commission to claim otherwise.

         The Commission’s Complaint, ECF No. 1, filed February 26, 2024, imagines a retail

landscape in which consumers have no practical alternatives to supermarkets as their source for

retail groceries and alleges that supermarkets, which it defines to include supercenters like

Walmart, constitute a separate relevant market for antitrust analysis. Since Kroger and Albertsons

are both supermarkets, the acquisition, under this logic, violates Section 7 of the Clayton Act (15

U.S.C. § 18).     The Commission advances arguments in support of such a market in its

Memorandum of Law in Support of Plaintiffs’ Preliminary Injunction Motion (“Plaintiffs’




1
  This brief was not authored in whole or part by counsel for a party. No party or its counsel
contributed money that was intended to fund preparing or submitting this brief, and no person
other than the amici curiae contributed money that was intended to fund preparing or submitting
the brief.

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Memorandum of Law”), ECF No. 205, filed July 30, 2024, and the arguments track allegations in

the Complaint. This Brief will refer to the allegations in the Complaint.

         Common sense and market evidence conclusively refute the Commission’s simplistic

vision of the retail grocery market, and blocking the acquisition would weaken, not protect,

competition among firms vying for consumer grocery purchases. Compounding the error of a false

market definition, the Commission refuses even to entertain the parties’ plan to preserve

competition by divesting stores in geographic markets where they now have overlapping retail

operations.

         The fallacy in isolating supermarkets as a line of commerce under Section 7 becomes

obvious when its implications are considered. Merger of a supermarket chain and a non-

supermarket grocery retailer, e.g., a club grocer like Sam’s Club, would, under this construct,

escape antitrust scrutiny, because the parties are in different lines of commerce. By definition, no

horizontal foreclosure could result.

         This is a case in which a federal agency is exploiting the antitrust laws in pursuit of a policy

goal – prohibition of all mergers of large grocery store chains – devoid of economic justification,

and the Attorneys General urge the Court to reject misuse of the Federal Trade Commission and

Clayton Acts for this purpose. The success of Kroger as a grocery retailer should be rewarded, not

punished, and the antitrust laws must not be enforced to chill the very competition they seek to

protect. Blocking this transaction would diametrically conflict with the congressionally mandated

duty of the Commission to protect and promote consumer welfare.




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II.      Summary of Argument.

         The Commission alleges that the proposed acquisition by Kroger of the outstanding shares

of Albertsons will, if consummated, violate Section 7 of the Clayton Act because it may

substantially lessen competition in a line of commerce.         The Commission alleges that the

acquisition will lessen competition in (1) local markets for the sale of food and grocery products

at supermarkets and (2) the market for union grocery labor. It filed this action pursuant to Section

13(b) of the Federal Trade Commission Act (15 U.S.C. § 53(b)) to prevent Kroger and Albertsons

from concluding the acquisition prior to adjudication of the administrative complaint it signed on

February 26, 2024, In the Matter of The Kroger Company and Albertsons Companies, Inc., Docket

No. D-9428.

         Supermarkets as a relevant market. The Commission alleges that the line of retail

commerce affected by the acquisition is traditional supermarkets and supercenters, to which it

refers as “supermarkets.” Complaint at ¶ 43. It alleges that the acquisition would violate Section

7 because it would “create or enhance market power” (id. at ¶ 56) in communities in 16 states and

the District of Columbia in which Kroger and Albertsons each have stores. Id. at ¶ 52.

Supermarkets cannot plausibly be viewed as the retail market relevant to the acquisition, however,

and the Commission has previously rejected supermarkets as a relevant market. The acquisition

will, in fact, not lessen competition among firms selling groceries at retail and will not curtail

consumer choices.

         Since there is no factual or legal basis for a finding that supermarkets are a line of

commerce under Section 7, the Commission cannot demonstrate, as Section 13(b) requires,

“likelihood of ultimate success” in the administrative proceeding for its claim that the effect of the



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acquisition may be substantially to lessen competition in local markets for the sale of food and

grocery products at supermarkets.

         Divestiture as a remedy. Kroger and Albertsons have nationwide operations, but their

stores overlap in only a limited number of locales. The Commission objects to the parties’

divestiture plan on the ground that C&S Wholesale Grocers, LLC (“C&S”), the entity that has

agreed to buy and operate stores to be divested by Kroger and Albertsons, is not a suitable

supermarket operator, but it previously took exactly the opposite position in another recent merger

case. Its objections to C&S are contrived, and divesting stores to C&S where Kroger and

Albertsons each now compete will eliminate any issues under Section 7.

         Scope of this Brief. The Commission filed this action in aid of its administrative complaint,

and this Brief addresses its arguments for an injunction pending conclusion of the agency

adjudication. The Attorneys General take no position on the interests or arguments of the States

and the District of Columbia that have joined the Commission as plaintiffs.

III.     The Acquisition Will Not Substantially Lessen Competition for the Sale of Food and
         Grocery Products at Supermarkets.

         To prevail in an action challenging an acquisition or merger under Section 7, the

Commission must demonstrate that the effect of the transaction may be substantially to lessen

competition in a line of commerce, and the Commission has the burden of proving what the

relevant market is and how the transaction may substantially lessen competition in the market.

The Commission will be unable to show that supermarkets are a relevant product market.

         The Commission’s relevant market: supermarkets.              The Commission points to

supermarkets as “one-stop shopping” destinations (Complaint at ¶ 44) and, for this reason, views

them as a relevant market for analyzing competitive effects of the acquisition. It acknowledges

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that consumers can buy groceries from other categories of vendors – e.g., club stores (Costco,

Sam’s Club); limited assortment stores (Aldi, Lidl); premium natural and organic stores (Whole

Foods); dollar stores (Dollar General, Family Dollar); and online retailers (id. at ¶ 48) – but it

alleges that these are not realistic supply alternatives. It alleges that consumers would not, in

response to a hypothetical supermarket monopolist implementing a small but significant and non-

transitory price increase, shift a significant volume of purchases away from supermarkets. Id. The

allegation is pure invention. Consumers have already shifted purchases away from supermarkets,

but not because of price increases. They have shifted because of ready access to multiple shopping

alternatives.

         The error in treating supermarkets as a separate relevant market is proved by its corollary

– i.e., merger of a supermarket with a non-supermarket grocery retailer would not be likely

substantially to lessen competition, because each party is in a different line of commerce. Under

the market definition the Commission urges here, it would be foreclosed from challenging the

merger of a large supermarket chain with an equally large, or larger, non-supermarket grocery

retailer, regardless of the impact on consumers. It would be barred, for example, from objecting

to a supermarket chain’s acquisition of Amazon’s Whole Foods, with $65 billion in grocery sales

in 2023. 2 According to the Commission, Whole Foods has “non-supermarket retail offerings” and

“focus[es] on a set of customers that is distinct from supermarket customers.” Complaint at ¶ 48.

Similarly, it could not object to a merger of Costco, with $100 billion in grocery sales in 2023,3


2
  See Solomon Partners, U.S. Grocery – A Few Things You Might Not Know, at 10 (Summer 2024).
This report was prepared in support of the Kroger-Albertsons transaction, and it lists examples of
retailers by category and size. It is available at https://www.krogeralbertsons.com under the
“Resources” tab and the “Grocery Industry Landscape” title.
3
  See id.

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into a large supermarket chain, because it too has “non-supermarket retail offerings,” carries

“fewer food and grocery SKUs than supermarkets,” and has fewer locations. Complaint at ¶ 48.

Under the Commission’s relevant market taxonomy, these deals would get a free pass. They could

prove to be anticompetitive, but the Commission would never review them, since the merging

parties are in separate product markets and, ipso facto, no horizontal foreclosure could result.

         The retail market for groceries. Shopping resources available to consumers vary from

community to community, but the universe of brick-and-mortar grocery vendors includes

supercenters, 4 club grocers, 5 discount grocers, 6 dollar grocers, 7 drug grocers, 8 and regional and

national supermarket chains. 9 Kroger and Albertsons stores face intense competition from retailers

other than supermarkets, and Walmart is by far the largest competitor, with three times the annual

sales volume of Kroger in 2023. 10

         Brick-and-mortar stores are not the only source of competition. Consumers also purchase

groceries online. Online grocery sales in the United States totaled $159 billion in 2023, and 28%

of American adults shop online at least once a month. 11 Consumers spent $45.71 billion on

groceries purchased online from Walmart in 2023; $35.46 billion on purchases from Amazon; and




4
  Walmart, Target, Meijer. See id. at 7.
5
  Costco, Sam’s Club, BJ’s. See id.
6
  E.g., Aldi, Trader Joe’s, Lidl. See id.
7
  Dollar General, Dollar Tree, Family Dollar. See id.
8
  CVS, Walgreens, Rite Aid. See id.
9
  E.g., Kroger, Albertsons, Publix, Ahold Delhaize (Food Lion), Giant Eagle, HyVee, Wegmans,
SpartanNash. See id.
10
   See id. at 10. Walmart had $324 billion in grocery sales in 2023, compared to $113 billion for
Kroger.
11
   CapitalOne Shopping Research, Online Grocery Shopping Statistics (Jan. 6, 2024), available at
https://capitaloneshopping.com/research/online-grocery-shopping-statistics/.

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$15.85 billion on purchases from Kroger. 12 Thirty-nine percent of consumers now buy their

groceries through a mix of physical and digital channels, 13 and 37% do not purchase any groceries

from physical grocery stores. 14

         Defining the relevant market as supermarkets alone thus has no basis in fact.

         The Commission has rejected supermarkets as a relevant market. The Commission has

itself rejected the very market definition that it urges in this case. It explained in The Grand Union

Co., 102 F.T.C. 812 (1983), a litigated case with a fully-developed evidentiary record, how the

product market is to be defined when the merger of supermarket chains is evaluated under Section

7, and it is not supermarkets. In Grand Union, Grand Union Company operated 474 supermarkets

in the Northeast and was the eleventh largest supermarket chain in the country. Id. at 1032-33. It

acquired Colonial Stores in 1978, which operated 378 supermarkets in seven Southeastern states

and was the fifteenth largest supermarket chain prior to the merger. Id. at 1033. The Commission

sued under Section 7, seeking to unwind the acquisition.

         Following an agency hearing, the Administrative Law Judge identified the relevant market

as sales by “supermarkets” and defined a “supermarket” as a store greater than 10,000 square feet

in size and having annual sales exceeding $1.5 million. Id. at 1042. On appeal by Grand Union

to the Commission, the Commission ruled that the definitional criteria were arbitrary and thereby

excluded “an unacceptably large portion of traders from the market analysis needed to assess the




12
   Id.
13
    PYMNTS, Changes in Grocery Shopping Habits and Perceptions (Feb. 2023), available at
https://www.pymnts.com/wp-content/uploads/2023/02/PYMNTS-Changes-in-Grocery-
Shopping-Habits-and-Perceptions.pdf.
14
   Id.

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legality of the challenged acquisition, and thus do not provide a sound economic framework for

that analysis.” Id. at 1043.

         The Commission rejected the argument that the wide range of products offered by

supermarkets warranted identifying them as a separate market:

                Under the analysis advanced by complaint counsel and adopted by
                the ALJ, retail grocery stores carrying several thousand items
                identical to those found in supermarkets would be deemed to exert
                no competitive pressure upon supermarkets selling those items. We
                believe that the record demonstrates that a considerable degree of
                competition exists between supermarkets and retail grocery stores
                selling a significant number of the same items.

Id. at 1044 (emphasis in original).

         The Commission agreed that supermarkets offer a “cluster of services” that made one-stop

shopping possible and that this attribute was preferred by many consumers. Id. It declined to

accept the argument that this feature supported recognition of supermarkets as a separate product

market, however. The Commission noted that there likely were customers who patronized

supermarkets intermittently, taking advantage of the one-stop advantage but at the same time

continuing to shop at box or warehouse stores. Id. There were no services or products offered by

supermarkets that were not available at other grocery stores. Id. at 1045.

         The Commission held that the ALJ’s finding that supermarkets only compete with other

supermarkets – and therefore should be viewed as a separate market – was contradicted by the

record. Id. It concluded by holding that “the appropriate product market approximation must

incorporate at least some of the competitive effects exerted by non-supermarket retailers in

addition to those competitive effects attributable to supermarkets.” Id. at 1046. It held that the

product market definition must include all retail grocery stores, excluding military commissaries



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         and fast-food outlets. Id.

         Facing a retail market offering consumers far more shopping choices and dramatically

more fractionated than that which it confronted in Grand Union, the Commission now ignores the

ruling, citing, instead, a 1988 district court preliminary injunction decision that used a supermarket

product definition (Plaintiffs’ Memorandum of Law at 24-25). The Commission was not party to

the 1988 litigation, California by Van De Kamp v. American Stores Co., 697 F. Supp. 1125 (C.D.

Cal. 1988), rev’d on other grounds, 872 F.2d 837 (9th Cir. 1989), rev’d, 495 U.S. 271 (1990), and

the Ninth Circuit, on appeal, expressed doubt about the district court’s market definition, 872 F.2d

at 841 (“Were we to evaluate independently the evidence of the relevant product market, we might

reach a different conclusion. But the ultimate determination must await our review of any

subsequent permanent injunction. . . . Indeed, after all evidence is presented at trial, the fact finder

may come to a different view of the market.”). The decision has no effect on the continuing

validity of Grand Union, and citing it without mention of the opposite holding in Grand Union

invites question as to whether the Commission has satisfied its obligation to bring relevant

authority to this Court’s attention.

         There has been no change in law, and failure by the Commission to follow its own

precedent is not a function of inadvertence or institutional amnesia. Nor is its failure to cite the

Grand Union holding. Deviation from Grand Union evidences, instead, conscious rejection of

careful economic analysis in favor of an outcome-determinative market definition aligning with




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the Commission’s current merger policy, under which mergers of grocery store chains are

presumptively unlawful. 15

       The Commission has long disregarded Grand Union as it negotiated consent decrees

involving mergers of grocery store chains. In a 1999 complaint challenging acquisition of

American Stores Company by what was then known as Albertson’s, Inc., the Commission alleged

that the relevant line of commerce was the retail sale of food and grocery items in supermarkets. 16

It alleged the same line of commerce in a more recent merger of grocery store chains in the

Northeast. 17 Unadjudicated consent decrees are not precedent, however, and no litigated market

definition analysis has displaced Grand Union.




15
   The current Chair of the Commission has credited the view that concentration in the retail
grocery market harms consumers. See Lina Khan & Sandeep Vaheesan, Market Power and
Inequality: The Antitrust Counterrevolution and Its Discontents, 11 HARV. LAW & POLICY REV.
235, 255 (2017) (“While grocers often tout efficiencies as a benefit of mergers, little evidence
suggests that consumers have actually witnessed lower prices. Instead, concentration seems to
have resulted in higher prices.” (footnote omitted)). In its press release announcing this action, the
Commission echoed this attitude: “. . . [T]he proposed deal will eliminate fierce competition
between Kroger and Albertsons, leading to higher prices for groceries and other essential
household items for millions of Americans.” Press Release, Fed. Trade Comm’n, FTC Challenges
Kroger’s Acquisition of Albertsons (Feb. 26, 2024).
16
   See Fed. Trade Comm’n, Analysis of the Draft Complaint and Proposed Consent Order to Aid
Public Comment, at 2, In the matter of Albertson’s, Inc. and American Stores Co., File No. 981-
0339            (F.T.C.           June           22,           1999),          available            at
https://www.ftc.gov/sites/default/files/documents/cases/1999/06/alameristoresana.pdf.
17
   See Fed. Trade Comm’n, Analysis of Agreement Containing Consent Orders to Aid Public
Comment, In the matter of Golub Corp. and Tops Markets Corp., FTC Docket No. C-4753, 86
Fed. Reg 66304, 66305 (Nov. 22, 2021) (stating that the retail sale of food and other grocery
products in supermarkets is the relevant market affected by the merger of The Golub Corporation
and Tops Markets Corporation, operating, respectively, 131 grocery stores in New York,
Connecticut, and Vermont and 162 stores in New York, Pennsylvania, and Vermont, and that the
“ability to offer consumers one-stop shopping is the critical difference between supermarkets and
other food retailers”) [hereinafter cited as Golub Corp.].

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       An agency is not free to ignore its own precedents, but that is what the Commission has

done. By positing supermarkets as a relevant market, it stands squarely in conflict with Grand

Union. An agency changing its course “must supply a reasoned analysis indicating that prior

policies and standards are being deliberately changed, not casually ignored,” NLRB v. CNN Am.,

Inc., 865 F.3d 740, 751 (D.C. Cir. 2017) (citation omitted), and the Commission has failed to do

so. Failure by the Commission in the administrative proceeding to follow Grand Union would, if

adverse to Kroger and Albertsons, result in an arbitrary and capricious judgment.                See

Ramaprakash v. FAA, 346 F.3d 1121, 1125 (D.C. Cir. 2003) (“An agency’s failure to come to

grips with conflicting precedent constitutes ‘an inexcusable departure from the essential

requirement of reasoned decision making.’” (citation omitted)); ANR Pipeline Co. v. FERC, 71

F.3d 897, 901 (D.C. Cir. 1995) (“Where an agency departs from established precedent without a

reasoned explanation, its decision will be vacated as arbitrary and capricious.”).

       There is, thus, no basis upon which this Court could conclude that the Commission will

likely succeed in its administrative proceedings in proving that supermarkets are the relevant retail

product market.

IV.    The Acquisition Will Be Procompetitive and Benefit Consumers.

       The Commission alleges that the acquisition will “destroy” competition between Kroger

and Albertsons (Complaint at ¶ 6) and that this destruction “risks raising prices, worsening

services, and lowering quality” for consumers “who rely on Kroger and Albertsons for their

groceries and other everyday goods.” Id. The claim assumes that consumers are walled off from

any other sources for groceries and have no alternative but to buy all their needs from either Kroger

or Albertsons alone. The assumption is fanciful, and the Commission’s pleading theatrics do not



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change the fact that Kroger faces intense competition from multiple quarters. The acquisition will

not lessen this competition.

       The acquisition will be procompetitive. It can be expected to strengthen Kroger’s ability

to compete more effectively in the wide-open market for consumers’ retail grocery dollars. It will

have no effect on competition between Kroger and Albertsons in the vast majority of communities

in which only one of them has stores. Nationwide, the acquisition should enable Kroger to compete

more aggressively on price, deliver improved service, and respond better to consumer needs. 18 In

claiming that the acquisition will have exactly the opposite effects, the Commission is oblivious

to the plain-as-day economic reality that raising prices, worsening services, and lowering quality

– its allegations – would actually weaken Kroger as a retailer and drive consumers into the waiting

arms of its many competitors.

       Given its own way, the Commission would simply prohibit all mergers of grocery store

chains, dispensing with the inconvenient need actually to prove that a merger may substantially

lessen competition. The Clayton Act cannot be used to block a transaction such as this, however,

in which consumers will gain from a stronger competitor in the market, and this Court should not

aid the Commission in pursuing an economically groundless policy goal.




18
   See, e.g., Exhibit 99.1 to Form 8-K of The Kroger Co., filed with the Securities & Exchange
Comm’n Oct. 13, 2022 (“Kroger and Albertsons Cos. will be better positioned to relieve the
inflationary pressures facing shoppers with a combined portfolio of approximately 34,000 total
private label products across premium, natural and organic, and opening price point brands.”).

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V.     Divestiture of Stores in Geographic Areas Where Kroger and Albertsons Compete
       Will Eliminate Any Unilateral Anticompetitive Effects.

       Kroger and Albertsons plan to divest stores to C&S in communities where their stores

overlap, 19 and divestiture is intended to preserve competition in the retail grocery market in these

locales. The Commission has routinely approved divestiture of overlapping stores in the process

of consenting to grocery store chain mergers challenged under Section 7, 20 and partial divestiture

is an accepted remedy when a merger would impact only limited geographic markets. 21 The

Commission objects, however, to the proposed divestiture to C&S because, according to the

Commission, C&S is “poorly positioned to operate these stores successfully.” Complaint at ¶ 107.

It alleges that C&S “previously tried and failed to operate other supermarkets successfully, even

at a much smaller scale than this vast and complex transaction.” Id. at ¶ 111.




19
   See Exhibit 99.3 to Form 8-K of The Kroger Co., filed with the Securities & Exchange Comm’n
Sept. 8, 2023. The parties’ agreement with C&S to sell it stores was amended April 22, 2024 to
increase the number of divested stores from 413 to 579. See Exhibit 99.1 to Form 8-K of The
Kroger Co., filed with the Securities & Exchange Comm’n April 22, 2024.
20
   See, e.g., Golub Corp., supra note 17, 86 Fed. Reg. at 66306 (“The proposed Order, which
requires the divestiture of Tops supermarkets in each relevant market to a Commission-approved
upfront buyer, C&S, will restore fully the competition that otherwise would be eliminated in these
markets as a result of the Merger.”); Fed. Trade Comm’n, Analysis to Aid Public Comment, In the
matter of Koninklijke Ahold N.V. and Delhaize Group NV/SA, FTC Docket No. C-4588, 81 Fed.
Reg. 51888, 51891 (Aug. 5, 2016) (“The proposed remedy, which requires the divestiture of either
Ahold or Delhaize supermarkets in each relevant market to seven Commission-approved upfront
buyers . . ., will restore fully the competition that would otherwise be eliminated in these markets
as a result of the Merger.”)
21
   See, e.g., RSR Corp. v. Fed. Trade Comm’n, 602 F.2d 1317, 1325-26 (9th Cir. 1979) (“The FTC
determined that complete divestiture of all pre-merger Quemetco assets would not be necessary to
restore competition in the secondary lead market. The FTC instead proposed that RSR should
divest itself of the Indianapolis, Walkill, and City of Industry plants, retaining its Dallas plant and
the former Quemetco plant in Seattle. . . . [W]e believe that the FTC’s proposed divestiture plan
is a reasonable one.”)

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          Kroger and Albertsons operate more than 5,000 stores throughout the country, and the areas

of competitive overlap implicate only a tenth of them. The Commission’s objections to C&S

appear calculated to buttress the goal of blocking the acquisition entirely, not reaching an

economically satisfactory outcome for an otherwise procompetitive transaction. When viewed

against its previous approval of C&S as a supermarket operator, the objections border on

pretextual.

          The Commission found C&S to be a suitable buyer for twelve stores operated by Tops

Markets Corp. in New York and Vermont to be divested in 2022. The divestiture was far smaller

than what is now proposed, but this Commission endorsement of C&S two years ago as an operator

of supermarkets differs strikingly from what it now alleges:

          The proposed buyer [C&S] appears to be a suitable purchaser well-
          positioned to enter the relevant markets through the divested stores and
          prevent the increase in market concentration and likely competitive harm
          that otherwise would have resulted from the Merger. The supermarkets
          currently owned by C&S are all located outside the relevant geographic
          markets in which it is purchasing divested stores.

          C&S is the largest private wholesale grocery store company and is the
          eleventh largest company in America. C&S has owned and operated retail
          stores in the past, including in certain of the relevant markets. C&S recently
          expanded its retail operations with the acquisition of eleven Piggly Wiggly
          Midwest retail stores and hired a former retail grocery executive with
          significant retail experience to lead retail efforts. C&S also has sufficient
          distribution and supply capabilities through its wholesale business, which
          can efficiently supply the twelve stores. 22

          According to its website, https://www.cswg.com, C&S operates eleven Grand Union

supermarkets in New York and Vermont and hundreds of supermarkets under the Piggly Wiggly




22
     Golub Corp., supra note 17, 86 Fed. Reg. 66306.

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banner in Wisconsin and 17 other states. It has more than 600 franchised stores in its Piggly

Wiggly Carolinas division 23 and 104 stores in Wisconsin in its Piggly Wiggly Midwest division.24

         Divestiture would address any Section 7 issues in those locales where Kroger and

Albertsons have overlapping operations, and the Commission’s objections to the divestiture plan

should be dismissed.

VI.      Conclusion.

         In evaluating a motion for injunctive relief under Section 13(b) of the Federal Trade

Commission Act, the Court must determine the likelihood that the Commission “will ultimately

succeed on the merits” of its administrative proceeding against Kroger and Albertsons under

Section 7 of the Clayton Act. E.g., FTC v. Meta Platforms Inc., 654 F. Supp. 3d 892, 910 (N.D.

Cal. 2023) (quoting FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1160 (9th Cir. 1984)). There

is no likelihood that the Commission will be able to prove that the effect of the parties’ transaction

may be substantially to lessen competition in the line of retail commerce it has alleged, and its

motion for preliminary injunction should be denied insofar as it stands on supermarkets as the

relevant line of commerce.

Dated: August 16, 2024




23
     See https://www.thepig.net/history.
24
     See https://www.shopthepig.com/about-us.

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                                THE STATE OF OHIO

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                                  CERTIFICATE OF SERVICE

       In accordance with Fed. R. Civ. P. 5(b)(2)(E) and LR 5-1, I hereby certify that on August

16, 2024, I electronically filed the foregoing with the Clerk of Court using the CM/ECF system,

which will send a notification of such filing to all counsel of record.




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